Case 1:23-cr-00283-JPC Document 2 Filed 06/08/23 Page 1 of 3

a

JUDGE CRONAN

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SEALED INDICTMENT
“ 2 qa e SP
§3 CRIM
RODNEY SPRATLEY, aig) aes
allc/a “G,”

a/k/a “Baby Boy,”

Defendant.

COUNT ONE
(Murder Through the Use of a Firearm)
The Grand Jury charges:
i. On or about May 31, 2017, in the Southern District of New York and elsewhere,

RODNEY SPRATLEY, a/k/a “G,” a/k/a “Baby Boy,” the defendant, during and in relation to a
crime of violence and a drug trafficking crime for which he may be prosecuted in a Court of the
United States, namely, (1) robbery, as that term is defined in Title 18, United States Code, Section
1951(b}(1), and thereby obstructing, delaying, and affecting commerce and the movement of
aticles and commodities in commerce, as that term is defined in Title 18, United States Code,
Section 1951(b)(3), and (ii) conspiracy to distribute and possess with intent to distribute mixtures
and substances containing a detectable amount of cocaine and mixtures and substances containing
a detectable amount of heroin, in violation of Title 21, United States Code, Sections 841(b\(1)(C)
and 846, knowingly used and carried a firearm, and in furtherance of such crimes, possessed a
firearm, and in the course of that crime caused the death of a person through the use of a firearm,

which killing is murder as defined in Title 18, United States Code, Section 1111, and aided and

srerrohemdiahcrimmmetem if

Case 1:23-cr-00283-JPC Document 2 Filed 06/08/23 Page 2 of 3

abetted the same, to wit, SPRATLEY shot and killed Noel Farrow in the vicinity of 2235 Gleason
Avenue, Bronx, New York, while robbing Farrow of narcotics and the proceeds of narcotics sales.

(Title 18, United States Code, Sections 924(j) and 2.)

SPECTAL FINDINGS

2. Count One of the Indictment is re-alleged and incorporated by reference as though
fully set forth herein. As to Count One, alleging murder through the stemming from the May 31,

2017 murder of Noel Farrow, RODNEY SPRATLEY, a/k/a “G,” a/k/a “Baby Boy,” the defendant:

a. was 18 years of age and older at the time of the offense;

b. intentionally killed Noel Farrow (Title 18, United States Code, Section
359 1(ay2)(A));

C. intentionally inflicted serious bodily injury that resulted in the death of Noel

Farrow (Title 18, United States Code, Section 3591 (a)(2)(B));

d. intentionally participated in an act, contemplating that the life of a person
would be taken or intending that iethal force would be used in connection with a person, other than
one of the participants in the offense, and Noel Farrow died as a direct result of the act (Title 18,
United States Code, Section 3591 (a){2)(C));

e. intentionally and specifically engaged in an act of violence, knowing that
the act created a grave risk of death to a person, other than one of the participants in the offense,
such that participation in the act constituted a reckless disregard for human life, and Noel Farrow
died as a direct result of the act (Title 18, United States Code, Section 3591 (a)(2)(D));

f. committed the offense after having previously been convicted of a state

offense punishable by a term of imprisonment of more than one year involving the use and

Case 1:23-cr-00283-JPC Document 2 Filed 06/08/23 Page 3 of 3

attempted and threatened use of a firearm against another person (Title 18, United States Code,
Section 3592(c)(2));

g. in the commission of the offense knowingly created a grave risk of death to
one and more persons in addition to the victim of the offense (Title 18, United States Code, Section
3592(c)(5));

h. committed the offense as consideration for the receipt, and in the

expectation of the receipt, of a thing of pecuniary” value (Title 18, United States Code, Section

3592(c)(8)).
_ m, \
Ns L BW VN Qo
AOREPERSON ‘DAMIAN WILLIAMS

United States Attorney

